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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

 Civil Action No. 1:20-cv-00911-WJM-SKC

 TIN GIANT, LLC, a Colorado Limited Liability Company, and
 ROBERT WYATT, an Individual

       Plaintiffs,

 v.

 ATARI VCS, LLC, f/k/a “ATARI GAMEBOX LLC,”
 a Delaware Limited Liability Company

       Defendant.


                     DECLARATION OF FREDERIC CHESNAIS


       Pursuant to 28 U.S.C.§ 1746, I hereby declare as follows:
       1.     I am the Chief Executive Officer of Atari VCS, LLC (“Atari”). In that
 capacity, I am responsible for overseeing the affairs of Atari, including all legal
 actions against the company.

       2.     Atari is Delaware limited liability company with its principal place of
 business at 286 Madison Avenue, 8th Floor, New York, New York 10017.

        3.    On information and belief, Plaintiff, Rob Wyatt knew Atari’s principal
 place of business is 286 Madison Avenue, 8th Floor, New York, New York 10017
 because he has received correspondence from our staff at that address.

        4.    On March 20, 2020, Andrew Cuomo, the Governor of the State of New
 York, issued Executive Order No. 202.8 (“New York State on PAUSE”) which
 required businesses – with the exception of those providing “essential” services – to
 keep 100 percent of their workforce at home, effectively shutting any non-essential
 businesses whose workforce cannot work from home. The executive order took
 effect Sunday, March 22, 2020 at 8 p.m. Upon learning about Executive Order
 202.8, I immediately focused on safeguarding our employees, protecting our
 franchise, and safeguarding my family.
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        5.      On March 22, 2020, Chief Administrative Judge Lawrence Marks
 issued Administrative Order AO/78/20, which effectively halted all non-essential
 proceedings in courts of the State of New York. The order applied to paper and
 electronic filings and extended to all trial courts.

        6.    On information and belief, on or about April 8, 2020, Plaintiff caused to
 be served a copy of the attached Amended Complaint to Atari’s registered agent
 located in Delaware.

      7.     Subsequently, the Registered Agent forwarded a copy of the Amended
 Complaint to the person of record in its database, who in turn forwarded the
 Amended Complaint to me.

        8.     On May 20, 2020, Chief Administrative Judge Marks issued a
 memorandum to the courts of New York State, announcing that as of May 25, 2020,
 and for the first time since Administrative Order AO/78/20 issued on March 22, the
 courts of New York County would accept “the filing of new non-essential matters.”
 See https://www.nycourts.gov/whatsnew/pdf/LKMarks-memo-May20.pdf.

       9.     The global pandemic effectively shut down Atari’s offices and all non-
 essential services in New York, which delayed Atari’s ability to file a timely
 response to the Amended Complaint.

        10.    On June 2, 2020, approximately one-week before Governor Cuomo
 initiated the first phase of allowing non-essential service providers to return to their
 offices, I engaged counsel regarding this litigation and was advised that the
 response was late.

        11.   I declare under penalty of perjury that the foregoing is true and
 correct.


 Executed this 2nd day of July 2020


                                         _________________________________________
                                         Frederic Chesnais
